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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEO-GUERRA, MICHAEL MAERLENDER,
 BRANDON PIYEVSKY, BENJAMIN SHUMATE,
 BRITTANY TATIANA WEAVER, and
 CAMERON WILLIAMS, individually and on
 behalf of all others similarly situated,

                               Plaintiffs,

                          v.

 BROWN UNIVERSITY, CALIFORNIA                          Case No.: 1:22-cv-00125
 INSTITUTE OF TECHNOLOGY, UNIVERSITY
                                                       Hon. Matthew F. Kennelly
 OF CHICAGO, THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF NEW YORK,
 CORNELL UNIVERSITY, TRUSTEES OF
 DARTMOUTH COLLEGE, DUKE UNIVERSITY,
 EMORY UNIVERSITY, GEORGETOWN
 UNIVERSITY, THE JOHNS HOPKINS
 UNIVERSITY, MASSACHUSETTS INSTITUTE
 OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME
 DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                               Defendants.

                       NOTICE OF WITHDRAWAL OF COUNSEL

       Pursuant to Local Rule 83.17, Defendant University of Chicago (“UChicago”) hereby gives

notice of the withdrawal of Thomas E. La Voy as counsel for UChicago in this matter. Attorneys

James L. Cooper, Valarie Hays, Michael A. Rubin, and Leah Harrell, of Arnold & Porter Kaye

Scholer LLP will continue to represent UChicago in this matter.



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Dated: June 6, 2024                         Respectfully submitted,

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                                             Chicago




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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that the foregoing document was filed with the
Court’s CM/ECF system on June 6, 2024, and thereby caused to be served on all counsel of
record registered to receive such service.

DATED: June 6, 2024                         By: /s/ Michael A. Rubin




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